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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELEC ee ALLY FILED
JOSEF VOLMAN, DOC #:
DATE FILED: 11/1/2021
Plaintiff,
-against-

21 Civ. 4742 (AT)
SANTA CLARITA RESTAURANT CORP. and
237 WILLIS AVENUE REALTY LLC, ORDER

 

Defendants.
ANALISA TORRES, District Judge:

 

On October 25, 2021, Plaintiff moved by order to show cause for default judgment against
Defendants. ECF No. 30. In support, Plaintiff submitted two affidavits with accompanying
exhibits, and a proposed default judgment (the “Supporting Papers”). ECF No. 30. Accordingly:

1. On December 21, 2021, at 11:00 a.m., Defendants shall appear at a telephonic conference
to show cause why the Court should not enter a default judgment against them pursuant to
Rule 55(b) of the Federal Rules of Civil Procedure. Plaintiff shall also appear. The
patties are directed to dial 888-398-2342 or 215-861-0674, and enter access code
5598827.

2. By November 4, 2021, Plaintiff shall serve copies of this Order to Show Cause and the
Supporting Papers on Defendants by first-class mail and service on the Secretary of State
under N.Y. Business Corp. Law § 306.

3. By November 10, 2021, Plaintiff shall file on the docket (1) proof of service, and (2) the
Supporting Papers that were served upon Defendants (as an attachment to the proof of
service).

4. By November 17, 2021, Defendants shall respond to Plaintiff's motion.

5. By November 24, 2021, Plaintiff shall submit his reply, if any.

SO ORDERED.

Dated: November 1, 2021
New York, New York
ANALISA TORRES
United States District Judge

 
